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                   IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF WEST VIRGINIA


  KEVIN A. RIDEOUT,

               Petitioner,

  v.                                            Civil Action No. 2:07CV54
                                         (Criminal Action No. 2:00CR7-12)
  UNITED STATES OF AMERICA,                                       (STAMP)

               Respondent.


                       MEMORANDUM OPINION AND ORDER
         DENYING PETITIONER’S MOTION TO ALTER OR AMEND JUDGMENT
            PURSUANT TO FEDERAL RULE OF CIVIL PROCEDURE 59(e)

                                I.   Background

        The pro se1 petitioner, Kevin A. Rideout, filed a petition

  under 28 U.S.C. § 2255 to vacate, set aside or correct sentence by

  a person in federal custody.         The matter was referred to United

  States Magistrate Judge James E. Seibert for initial review and

  report and recommendation pursuant to Local Rule of Prisoner

  Litigation 83.15.        The magistrate judge entered a report and

  recommendation recommending that the petitioner’s § 2255 petition

  be denied.    On February 17, 2009, this Court affirmed and adopted

  the ruling of the magistrate judge in its entirety.

        The petitioner now moves this Court to alter or amend the

  order.     The respondent filed a response to which the petitioner

  replied.     For the reasons set forth below, this Court denies the

  petitioner’s motion to alter or amend the order.



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        “Pro se” describes a person who represents himself in a court
  proceeding without the assistance of a lawyer.         Black’s Law
  Dictionary 1237 (7th ed. 1999).
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                             II.   Applicable Law

        The petitioner files his motion to alter or amend pursuant to

  Federal Rule of Civil Procedure 59(e).         The United States Court of

  Appeals for the Fourth Circuit has recognized three grounds for

  amending an earlier judgment: (1) to accommodate an intervening

  change in controlling law; (2) to account for new evidence not

  available at trial; or (3) to correct a clear error of law or

  prevent manifest injustice. See Pacific Ins. Co. v. Am. Nat’l Fire

  Ins. Co., 148 F.3d 396, 403 (4th Cir. 1998).          “Rule 59(e) motions

  may not be used . . . to raise arguments which could have been

  raised prior to the issuance of the judgment, nor may they be used

  to argue a case under a novel legal theory that the party had the

  ability to address in the first instance.”             Id.    A Rule 59(e)

  motion may not be used to relitigate old matters and is an

  extraordinary remedy that should be used sparingly. See id.            It is

  improper to use such a motion to ask the court to “rethink what the

  court has already thought through--rightly or wrongly.”           Above the

  Belt, Inc. v. Mel Bohannan Roofing, Inc., 99 F.R.D. 99, 101 (E.D.

  Va. 1983).

                               III.   Discussion

        The essence of the petitioner’s argument is that the Court

  erred in deciding Claims One through Six of his § 2255 petition.

  In support of his motion, the petitioner essentially restates the

  issues already addressed by this Court in its memorandum opinion

  and order denying the petitioner’s motion under § 2255.



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        The petitioner’s contentions do not cause this Court to

  reconsider    its   findings.       Indeed,   the   petitioner   is   making

  arguments that this Court has already thoroughly considered and

  discussed in its February 17, 2009 memorandum opinion and order.

  The petitioner has not submitted any new evidence that would

  warrant altering or amending the earlier order. Furthermore, there

  has been no change in the controlling law since this Court issued

  its order, and this Court does not find that altering or amending

  the order is necessary to prevent manifest injustice.

                                IV.   Conclusion

        For the reasons stated above, the petitioner’s motion to alter

  or amend this Court’s February 17, 2009 memorandum opinion and

  order affirming and adopting the report and recommendation of the

  magistrate judge dismissing the petitioner’s § 2255 petition is

  DENIED.

        Should the petitioner choose to appeal the judgment of this

  Court to the United States Court of Appeals for the Fourth Circuit

  on issues to which objection was made, he is ADVISED that he must

  file a notice of appeal with the Clerk of this Court within 30 days

  after the date that the judgment order in this case is entered.

  See Fed. R. App. P. 4(a)(1).        Upon reviewing the notice of appeal,

  this Court will either issue a certificate of appealability or

  state why a certificate should not be issued in accordance with

  Federal Rule of Appellate Procedure 22(b)(1). If this Court should

  deny a certification, the petitioner may request a circuit judge of



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  the United States Court of Appeals for the Fourth Circuit to issue

  a certificate.

        IT IS SO ORDERED.

        The Clerk is directed to transmit copies of this order to the

  petitioner by certified mail and to counsel of record herein.

        DATED:      September 4, 2009



                                      /s/ Frederick P. Stamp, Jr.
                                      FREDERICK P. STAMP, JR.
                                      UNITED STATES DISTRICT JUDGE




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